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                 IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

              Plaintiff,                                     No. CR 16-2917 JAP

Vs.

YUSEF CASANOVA,

              Defendant
.
           DEFENDANT’S OPPOSED MOTION TO DISCLOSE THE
                    CONFIDENTIAL INFORMANT

      COMES NOW the Defendant Yusef Casanova (by and through his counsel

of record Assistant Federal Public Defender Brian A. Pori), and pursuant to the

Fifth and Sixth Amendments of the United States Constitution, respectfully

requests that this Honorable Court enter an Order directing the Government to

disclose the identity of the confidential informant in this case, and to disclose all

relevant Brady information, including any impeachment material and other

information concerning the confidential informant’s background, inducements and

credibility. In support of this Opposed Motion, counsel for Mr. Cassanova states:

      1.      Defendant Yusef Casanova has been charged in an Indictment,

returned on June 30, 2016, with being a felon in possession of a firearm (in

violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2)) and with possession of
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methamphetamine with the intent to distribute it (in violation of 21 U.S.C. § 841

(a)(1) and (b)(1)[C]).

      2.      The arrest in this case arose out of a four-month, multi agency

investigation which targeted drug addicts in Albuquerque, New Mexico by

inducing them to commit crimes through a variety of promised rewards. The

investigation began in mid April 2016 when officers from the Bureau of Alcohol,

Tobacco and Firearms who were stationed in Phoenix, Arizona performed an

“Enhanced Enforcement Initiative.”

      3.      Mr. Cassanova was targeted by the ATF only after a confidential

informant approached an individual named “Cash” (true name Joseph Mosley) at a

gas station on Zuni Street in Albuquerque and asked Cash if Cash knew anyone

who could sell him two ounces of methamphetamine. After Mr. Mosley tried to

introduce the confidential informant to an individual named Curtis, he ultimately

introduced the confidential informant to Mr. Cassanova.

      4.      On June 6, 2016, the confidential informant telephoned Mr. Casanova

and offered him the opportunity to make more $600 if he would introduce the

informant to a methamphetamine supplier. Later that day Mr. Casanova

introduced the confidential informant to a white male named John who sold the

confidential informant methamphetamine. Following this sale Mr. Cassanova was

arrested but John (the white male source of supply) was not.


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      5.      The confidential informant was not only a percipient witness to the

sale of methamphetamine in this case he also was involved in numerous taped

telephone calls with Mr. Casanova in the days leading up to the sale. In short, the

confidential informant was present and played an integral part in each of the

transactions leading to Mr. Casanova’s arrest and the informant is necessary to

explain each and every event which forms the basis of the Government’s case

against Mr. Casanova.

      6.      A court is obligated to disclose a confidential informant whenever the

informant could be relevant and helpful to the defense of the accused. Disclosure

is required in those circumstances where the production of the confidential

informant is essential to a fair determination of the cause. Rovario v. United

States, 353 U.S. 53, 61-62 (1957); United States v. Gordon, 173 F.3d 761, 767-68

(10th Cir. 1999). In addition, Mr. Casanova contends that disclosure will be

necessary in order to avoid testimonial hearsay should the Government seek to

introduce tape recorded telephone calls between Mr. Casanova and the informant.

Cf. Crawford v. Washington, 541 U.S. 36 (2004).

      7.      Mr. Casanova contends that the confidential informant must be

disclosed because he is the only individual who can provide non-hearsay testimony

about the inducements which were offered to Mr. Casanova to persuade him to

introduce the informant to a methamphetamine seller. Moreover, the informant is


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the only individual besides Mr. Casanova who can recount Mr. Casanova’s efforts

to resist, dissuade or avoid the informant and thereby establish that Mr. Casanova

expressed a reluctance to participate in this endeavor which was ultimately over

come by the informant’s persistence. Therefore on these facts it plainly appears

that Mr. Casanova’s right to prepare and present a defense following the disclosure

of the confidential informant outweighs any interest in shielding the informant

from the trial of this matter. Rovario, 353 U.S. at 62; U.S. v. Sinclair, 109 F.3d

127, 1538 (10th Cir. 1997).

      8.      Mr. Casanova has been unable to locate or identify the confidential

informant. Therefore, he respectfully requests that this Court order the

Government to disclose the name and address of the informant at least thirty days

before trial. U.S. v. Muse, 708 F.2d 513 (10th Cir. 1983); U.S. v. Leahy,, 47 F.3d

396, 398 (10th Cir. 1995).

      9.      In addition, on information and belief, counsel for Mr. Casanova avers

that the informant may have been able to achieve a favorable disposition of

pending criminal charges as a result of his cooperation with the ATF, and he may

have been paid money for his services and, most troubling, he may continue to

commit a variety of property crimes with impunity, all as a result of his

cooperation with this traveling Enhanced Enforcement Initiative. If these types of

consideration have been provided to the informant for his services, those facts are


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highly relevant and admissible in evaluating the informant’s motives and

credibility in this case and therefore the information should be disclosed,

irrespective of the disclosure of the identity of the informant.

      10.    Information about financial payments made to an informant (or any

other valuable consideration offered for the informant’s help) the prior criminal

record of the confidential informant, evidence of prior false statements by the

informant and any evidence of a narcotic drug habit or a present or prior

psychiatric or psychological disorder must be disclosed to Mr. Casanova by the

Government in order to discharge its obligation to provide the defense with any

material exculpatory evidence or impeachment evidence. Brady v. Maryland, 373

U.S. 83 (1963); Giglio v. U.S. 405 U.S. 150 (1972); U.S. v. Bagley, 43 U.S. 67

(1985). The Government’s Brady obligation extends to information in the

possession of any government agent. Kyles v. Whitley, 514 U.S. 419 (1995).

Therefore, disclosure of this material, exculpatory evidence or impeachment

information is essential to safeguard Mr. Casanova’s Sixth Amendment rights by

protecting his right to compulsory process, to confront and cross examine the

witnesses against him and to present a defense. Washington v. Texas, 388 U.S. 14

(1967); Davis v. Alaska, 415 U.S. 308 (1974).

      11.    Assistant United States Attorney Samuel A. Hurtado, counsel of

record for the United States, has been informed of this Motion to Disclose the


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Confidential Informant and Mr. Hurtado represents that the Government opposes

the Motion.

      WHEREFORE, for all of the foregoing reasons, Defendant Yusef Casanova

respectfully requests that this Honorable Court enter an Order directing the

Government to disclose the identity of the confidential informant at least 30 days

before the trial of this case and also Order the Government to disclose any

material, exculpatory Brady information or impeachment information surrounding

the informant.

                                Respectfully Submitted,

                                /s/ Brian A. Pori filed electronically 2/9/17
                                       Brian A. Pori
                                       Assistant Federal Public Defender
                                       111 Lomas Blvd NW, Suite 501
                                       Albuquerque, N.M. 87102-2373
                                       (505) 346-2489 [telephone]

                                Counsel for Yusef Casanova




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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 9th day of February, 2017, I filed the

foregoing Defendant’s Opposed Motion to Disclose the Confidential Informant

electronically through the CM/ECF system, which caused a copy of the pleading to

be served electronically on opposing counsel of record addressed as follows:

Samuel A. Hurtado, Esq.
Assistant United States Attorney
P.O. Box 607
Albuquerque, New Mexico 87103

                                      /s/ Brian Pori filed electronically 2/9/17
                                      Brian A. Pori




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